                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:13 mj 19-4


UNITED STATES OF AMERICA,                         )
                                                  )
Vs.                                               )                ORDER
                                                  )
GARY RAY BISHOP,                                  )
                                                  )
                  Defendant.                      )
____________________________________              )


       THIS MATTER has come before the undersigned pursuant to Government’s Motion to

Dismiss Count Two (#9) filed by the government.       It appears that the government wishes to

dismiss the charges contained in Count Two of the bill of information which present charges

against Defendant Bishop. The motion will be allowed.

                                         ORDER

       IT IS, THEREFORE, ORDERED that Government’s Motion to Dismiss Count Two

(#9) is hereby ALLOWED and the charges against Gary Ray Bishop as contained in Count Two

are hereby dismissed.

                                                            Signed: May 2, 2013




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